Case 22-21779-GLT             Doc 254       Filed 02/07/23 Entered 02/07/23 16:02:54                       Desc Main
                                           Document      Page 1 of 3



                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

     IN RE:                                                  Chapter 11

     PRINCIPLE ENTERPRISES, LLC,1                            Case No. 22-21779-GLT

                       Debtor,             Doc. No.:
     _____________________________________
                                           Related to Doc. No.: 251 and 252
     PRINCIPLE ENTERPRISES, LLC,

                             Movant,

        v.

     NO RESPONDENTS.


        NOTICE OF OCCURRENCE OF EFFECTIVE DATE AND ENTRY OF
  (A) FINDINGS OF FACT, CONCLUSIONS OF LAW, AND ORDER (I) APPROVING
   THE FIST AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN OF
 REORGANIZATION OF PRINCIPLE ENTERPRISES, LLC UNDER CHAPTER 11 OF
 THE BANKRUPTCY CODE ON A FINAL BASIS, AND (II) CONFIRMING THE FIRST
         AMENDED COMBINED DISCLOSURE STATEMENT AND PLAN OF
 REORGANIZATION OF PRINCIPLE ENTERPRISES, LLC UNDER CHAPTER 11 OF
 THE BANKRUPTCY CODE [DOC. NO. 251]; AND (B) POSTCONFIRMATION ORDER
                 AND NOTICE OF DEADLINES [DOC. NO. 252]

 TO ALL CREDITORS, INTEREST HOLDERS, AND OTHER PARTIES IN INTEREST:

         PLEASE TAKE NOTICE that, on February 2, 2023, the United States Bankruptcy Court
 for the Western District of Pennsylvania (the “Bankruptcy Court) entered the Findings of Fact,
 Conclusions of Law, and Order (I) Approving the First Amended Combined Disclosure Statement
 and Plan of Reorganization of Principle Enterprises, LLC Under Chapter 11 of the Bankruptcy
 Code on a Final Basis, and (II) Confirmation the First Amended Combined Disclosure Statement
 and Plan of Reorganization of Principle Enterprises, LLC Under Chapter 11 of the Bankruptcy
 Code [Docket No. 251] (“Confirmation Order”), thereby confirming the Combined Plan and
 Disclosure Statement2 [Doc. No. 206-1] (as may be modified from time to time, “Plan”).

        PLEASE TAKE FURTHER NOTICE that, on February 2, 2023, the Bankruptcy Court
 entered the Postconfirmation Order and Notice of Deadlines [Doc. No. 252] (the
 “Postconfirmation Order”).


 1
  The last four digits of Debtor’s federal tax identification number are: 5583.
 2. Capitalized terms not otherwise defined herein shall have the same definitions as ascribed to them in the Plan.
Case 22-21779-GLT        Doc 254     Filed 02/07/23 Entered 02/07/23 16:02:54             Desc Main
                                    Document      Page 2 of 3



        PLEASE TAKE FURTHER NOTICE that each of the conditions set forth in Section
 18.1 of the Plan have been satisfied or duly waived, and the Effective Date of the Plan occurred
 on February 7, 2023 (the “Effective Date”).

         PLEASE TAKE FURTHER NOTICE that the holder of an Administrative Expense
 Claim, other than (a) a Claim covered by Section 8.3 or 8.4 of the Combined Plan and Disclosure
 Statement, (b) a liability incurred and payable in the ordinary course of business by the Debtor
 after the Petition Date, (c) an Administrative Expense Claim that has been Allowed and/or paid in
 full on or before the Effective Date, must file and serve on the Debtor a request for payment of an
 Administrative Expense Claim pursuant to section 503(a) of the Bankruptcy Code so that it is
 received no later than the Administrative Expense Claim Bar Date, which is March 9, 2023.
 Holders required to file and serve, who fail to file and serve, a request for payment of
 Administrative Expense Claims by the Administrative Expense Claims Bar Date shall be
 forever barred, estopped, and enjoined from asserting such Administrative Expense Claims
 against the Debtor and its property, and such Administrative Expense Claims shall, as of the
 Effective Date, be subject to the permanent injunction set forth in Section 17.4 of the
 Combined Plan and Disclosure Statement. Notwithstanding the foregoing, pursuant to section
 503(b)(1)(D) of the Bankruptcy Code, no governmental unit shall be required to file a request for
 payment of any Administrative Expense Claim of a type described in sections 503(b)(1)(B) or
 503(b)(1)(C) of the Bankruptcy Code as a condition to such Claim being Allowed.

         PLEASE TAKE FURTHER NOTICE that each professional requesting compensation
 for services rendered in connection with the Chapter 11 Case before the Effective Date is required
 to file with the Bankruptcy Court and serve on the Debtor an application for allowance of final
 compensation and reimbursement of expenses in the Chapter 11 Case on or before forty-five (45)
 calendar days after the Effective Date, which is March 24, 2023. Professionals required to
 file and serve, and who fail to file and serve, a request for payment for services rendered in
 connection with the Chapter 11 Case before the Effective Date, will be Disallowed, forever
 barred from assertion, and not to be enforceable against the Debtor, the Estate, the
 Reorganized Debtor or the property of any of the foregoing.

         PLEASE TAKE FURTHER NOTICE that, pursuant to Section 13.2 of the Plan, Proofs
 of Claim with respect to Claims arising from the rejection of any Executory Contracts or Unexpired
 Leases, if any, must be filed with the Court within thirty (30) days after the Effective Date, or
 March 9, 2023, to the extent not already filed and to the extent that there was no other prior order
 setting an earlier deadline to file such rejection Claim. Any Claims arising from the rejection of
 an Executory Contract or Unexpired Lease not filed with the Court within such time will be
 Disallowed, forever barred from assertion, and not be enforceable against the Debtor, the
 Estate, the Reorganized Debtor, or the property of any of the foregoing.

        PLEASE TAKE FURTHER NOTICE that the provisions of the Plan are binding on the
 Debtors, any holder of a Claim against, or Interest in, the Debtors, and such holder’s respective
 successors and assigns, whether or not the Claim or Interest of such holder is Impaired under the
 Plan and whether or not such holder has accepted the Plan.




                                                  2
Case 22-21779-GLT         Doc 254    Filed 02/07/23 Entered 02/07/23 16:02:54        Desc Main
                                    Document      Page 3 of 3



                                            Respectfully submitted:

 Date: February 7, 2023                     WHITEFORD, TAYLOR & PRESTON, LLP

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                                               3
